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AO 9l (Rev S/Ol} CriminalComplaint

 

United States District Court %"¢”J‘EBY§T§;W£Y
SOUTHERN DISTRICT OF TEXAS UA\{' § § 2035

 

 

MCALLEN DIVISION
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UNITED STATES OF AMERICA

V~ ~ CRIMINAL COMPLAINT
dose Manuel Lopez-Castel|anos
A096 386 770 v Case Number: M-15-0748-M
|AE YOB: 1974

United Mexican States
(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about May 10, 2015 ` in Hidalqo County, in

the Southern District of Texas

(Track Smrutory Languoge oijj”ense)

being then and there an alien who had previously been deported from the United States to the United Mexican States in
pursuance of law, and thereafter was found near Pharr, Texas, within the Southern District of Texas, the Attorney General
of the United States and/or the Secretary of Homeland Security, not theretofore having consented to a reapplication by the
defendant for admission into the United States; v

in violation of Title 8 United States Code, Section(s) _ 1326 (Fe|ony)

l further state that I am a(n) Senior Patrol Agent and that this complaint is based on the

following facts:
Jose Manuel Lopez-Castellanos was encountered by Border Patrol Agents near Pharr, Texas on May 10, 2015. The
investigating agent established that the Defendant was an undocumented alien and requested record checks. The Defendant
claims to have illegally entered the United States on May 10, 2015, near Pharr, Texas. Record checks revealed the Defendant
Was formally Deported/Excluded from the United States on April 18, 2015, through Eagle Pass, Texas. Prior to
Deportation/Exclusion the Defendant was instructed not to return to the United States without permission from the U.S.
Attorney General and/or the Secretary of Homeland Security. On July 28, 2014, the defendant was convicted of 8 USC 1326

lllegal Re-Entry and sentenced to sixteen (16) months confinement and three (3) years supervised release term.

Continued on the attached sheet and made a part of this complaint EYes .No

 

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Sworn to before me and subscribed in my presence, Signature of(complainanr

 

 

 

 

 

May 12, 2015 ` ' Michael K. Garza Senior Patrol Agent
Peter E. Ormsby , U.S. Magistrate Judge /Z‘Z ;'/‘# ~
§ignature of Judicia| officer /

Name and Title of Judicial Officer

